         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:04CR64


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           vs.                           )          ORDER
                                         )
KEVIN CHRISTOPHER MAKERSON               )
                                         )
                                         )

     THIS MATTER is before the Court on the Defendant’s motion to file

an untimely notice of appeal. Defendant’s Notice of Appeal, filed

November 7, 2008. Defendant wishes to appeal this Court’s order, dated

September 5, 2008, which denied his motion for reduction of sentence for

his crack cocaine conviction based on amendments to the Sentencing

Guidelines and 18 U.S.C. § 3582(c)(2). Id. at 1; see Order, filed

September 5, 2008. He claims that his attorney did not notify him of the

challenged order until October 31, 2008 – nearly two months after its

issuance. Notice of Appeal, supra, at 1. To support his claim, he

encloses a copy of an envelope which he received from his attorney,

postmarked October 27, 2008. Id. at 6.

     The Federal Rules of Appellate Procedure provide:


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      Upon a finding of excusable neglect or good cause, the district
      court may – before or after the time has expired, without or
      without motion and notice – extend the time to file a notice of
      appeal for a period not to exceed 30 days from the expiration of
      the time otherwise prescribed by this Rule 4(b).

Fed. R. App. P. 4(b)(4) (emphasis added). Rule 4(b) also states that

criminal defendants must ordinarily file their notice of appeal within 10 days

from the issuance of the order they wish to challenge. Fed. R. App. P.

4(b)(1)(A)(i).

      In this case, Defendant’s notice of appeal was due 10 days from the

challenged order’s issuance. Id. Excluding weekends and holidays, and

adding three calendar days for mailing, this means it had to be filed by

September 22, 2008. See Fed. R. App. P. 26(a), (c), & cmt. to 1996

Amendments. As explained above, the Rules give this Court authority to

extend this period for up to 30 days, but not more. Fed. R. App. P.

4(b)(4); see also Fed. R. App. P. 26(b) (“For good cause, the court may

extend the time prescribed by these rules . . . . [b]ut the court may not

extend the time to file . . . a notice of appeal (except as authorized by

Rule 4)[.]”); Greenlaw v. United States, 128 S. Ct. 2559, 2569 (2008)

(explaining that firm deadlines for notices of appeal are justified




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because they “advance the interests of the parties and the legal

system in fair notice and finality”).

     Thus, the Court is able to extend Defendant’s time to file his notice of

appeal through October 22, 2008, but not beyond – not even for good

cause or excusable neglect. See United States v. Alvarez, 249 F. App’x

303, 304 (4th Cir. 2007) (noting that the “time periods presented in

Rule 4(b) are mandatory and jurisdictional.”). As the instant motion

was filed 16 days after the last date on which the undersigned has

authority to grant Defendant an extension, Defendant’s motion must be

denied.

     IT IS, THEREFORE, ORDERED that Defendant’s motion to file an

untimely notice of appeal is hereby DENIED.



                                        Signed: November 17, 2008




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